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 1   BENJAMIN B. WAGNER
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 2   MATTHEW G. MORRIS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,               )   Case No. 2:11-cr-00216-MCE
10                                           )
                    Plaintiff,               )   STIPULATION AND ORDER
11                                           )   CONTINUING STATUS CONFERENCE
           v.                                )   AND EXCLUDING TIME FOR PURPOSES
12                                           )   OF THE SPEEDY TRIAL ACT WITH
     DESHAWN RAY,                            )   RESPECT TO DEFENDANTS RAY AND
13   DAMION EDGERSON, and                    )   THOMAS
     REGINALD THOMAS                         )
14                                           )
                    Defendants.              )
15                                           )

16
17         Plaintiff United States of America, by and through Assistant

18   United States Attorney Matthew Morris and Defendants, Deshawn Ray, by

19   and through his attorney, Julius Engel, and Reginald Thomas, by and

20   through his attorney Colin Cooper, hereby stipulate as follows:

21         The parties agree that the status conference scheduled for

22   October 11, 2012, be continued to December 6, 2012.           The parties

23   request the continuance based upon the following facts, which the

24   parties believe demonstrate good cause to support the appropriate

25   findings under the Speedy Trial Act:

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 1         Defendants Ray and Thomas are reviewing discovery and
 2   investigating the case, and are in discussions with the United States
 3   regarding potential resolution of the case without trial.
 4         The requested continuance is not based on congestion of the
 5   Court’s calendar, lack of diligent preparation on the part of the
 6   attorney for the government or the defense, or failure on the part of
 7   the attorney for the government to obtain available witnesses.
 8         For purposes of computing the date under the Speedy Trial Act by
 9   which defendant’s trial must commence, the parties agree that the
10   time period of October 11, 2012, to December 6, 2012, inclusive,
11   should be excluded pursuant to 18 U.S.C. Section 3161 because:
12         Under 18 U.S.C. Section 3161(h)(7)(B)(iv) and local code T4, the
13   delay results from a continuance granted by the Court at the
14   defendant’s request, with the agreement of the government, on the
15   basis of the Court’s finding that: (i) the delay will allow defense
16   counsel reasonable time to prepare; and (ii) the ends of justice
17   served by the continuance outweigh the best interest of the public
18   and defendant in a speedy trial.
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 1        IT IS SO STIPULATED.
 2                               /s/ Matthew Morris
     DATED: October 9, 2012      MATTHEW G. MORRIS
 3                               Assistant United States Attorney
 4
                                 /s/ Julius Engel, (as authorized 10/9/12)
 5   DATED: October 9, 2012      JULIUS ENGEL
                                 Attorney for DESHAWN RAY
 6
 7                               /s/ Colin Cooper, (as authorized 10/9/12)
     DATED: October 9, 2012      COLIN COOPER
 8                               Attorney for REGINALD THOMAS
 9
          IT IS SO ORDERED.
10
11   Dated: October 12, 2012

12
                                         _____________________________
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                                         MORRISON C. ENGLAND, JR.
14                                       UNITED STATES DISTRICT JUDGE
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